r   • ,   I

                  •
                      Case
                      I
                           5:19-mj-00579-STE Document 1 Filed     nR
                                                        1 -,· 10/29/19
                                                              ·,
                                                  \..) / (J ! I J / \ ~-
                                                                      i
                                                                         Page 1 of 16



              Approved:
                           ALEX ROSSMILLER /
                           Assistant United States Attorneys
                                                                                       -
              Before:      THE HONORABLE GABRIEL W. GORENSTEIN
                           United States Magistrate Judge
                           Southern District of New York

                                                  -   -       -       -       X      19MAG 249 3       •

               UNITED STATES OF AMERICA                                           SEALED COMPLAINT

                            - v. -                                                Violations of
                                                                                  18 u.s.c. §§ 1343,
               JOHN PIERRE DUPONT,                                                1028A, and 2
                  a/k/a "John Gary Rinaldo,"
                  a/k/a "John Gary,"                                              COUNTY OF OFFENSE:
                                                                                  NEW YORK
                                     Defendant.

                                                          -       -       -   X

              SOUTHERN DISTRICT OF NEW YORK, ss.:

                        JEREMY ROSENMAN, being duly sworn, deposes and says
              that he is a Special Agent with the United States Attorney's
              Office, Southern District of New York, and charges as follows:

                                               COUNT ONE
                                              (Wire Fraud )

                        1.    From in or about 2015, up to and including in or
              about March 2019, in the Southern District of New York and
              elsewhere, JOHN . PIERRE DUPONT, a/k/a "John Gary Rinaldo," a/k/a
              "John Gary," the defendant, willfully and knowingly, having
              devised and intending to devise a scheme and artifice to
              defraud, and for obtaining money and property by means of false
              and fraudulent pretenses, representations, and promises, did
              transmit and cause to be transmitted by means of wire, radio,
              and television communication in interstate and foreign commerce,
              writings, signs, signals, pictures, and sounds for the purpose
              of executing such scheme and artifice, to wit, DUPONT
              participated in a scheme to obtain money from victims who
              believed they were donating to political campaigns and/or
              political action committees supportive of particular campaigns
              or causes, when in truth and in fact the donated money was used
              to enrich DUPONT and to further the fraudulent fundraising
              scheme.

                        (Title 19, Unit~d Statgs CodG, 5gction 1343 and Z.)
                                                              1
     Case 5:19-mj-00579-STE Document 1 Filed 10/29/19 Page 2 of 16



                             COUNT TWO
                    (Aggravated Identity Theft)

          2.   From in or about 2015, up to and including in or
about March 2019, in the Southern District of New York and
elsewhere, JOHN PIERRE DUPONT, a/k/a "John Gary Rinaldo," a/k/a
"John Gary," the defendant, knowingly did transfer, possess, and
use, without lawful authority, a means of identification of
another person, during and in relation to a felony violation
enumerated in Title 18, United States Code, Section 1028A(c), to
wit, DUPONT used, transferred, and possessed the names of other
individuals, including the names of certain candidates for
elective political office, in connection with the offense
charged in Count One of this Complaint.

       (Title 18, United States Code, Sections 1028A(a) (1),
                         1028A(b), and 2.)

          The bases for my knowledge and for the foregoing
charges are, in part, as follows:

          3.   I am a Special Agent with the United States
Attorney's Office, Southern District of New York, and I have
been personally involved in the investigation of this matter.
I am familiar with the information contained in this affidavit
based on my own personal participation in the investigation, my
review of records, and conversations that I have had with other
law enforcement officers and other individuals. Because this
affidavit is being submitted for the limited purpose of
establishing probable cause, it does not include all the facts
I have learned during the course of my investigation. Where the
contents of documents and the actions, statements, and
conversations of others are reported herein, they are reported
in substance and in part, except where otherwise indicated.

                Overview of the Fraudulent Scheme

          4.   As set forth below, since at least 2015, JOHN
PIERRE DUPONT, a/k/a "John Gary Rinaldo," a/k/a "John Gary," the
defendant, has defrauded thousands of donors who incorrectly
believed they were donating to legitimate political action
committees ("PACs"), to the campaigns of candidates in various
federal and state elections, and to certain political causes.   In
truth and in fact, virtually all of the donations to the PACs,
candidates or causes, totaling approximately more than $250,000,
were taken by DUPONT himself, or else used to perpetuate the
fraud through additional fundraising expenditures.  DUPONT never
reported any of the donations he received in filings required by
the Federal Election Commission ("FEC"), and the donations were


                                  2
,        Case 5:19-mj-00579-STE Document 1 Filed 10/29/19 Page 3 of 16



    not directed to the campaigns or causes purportedly being
    supported by the PACs and related websites created by DUPONT.

              5.   JOHN PIERRE DUPONT, a/k/a "John Gary Rinaldo,"
    a/k/a "John Gary," the defendant, used various means and methods
    to carry out the fraudulent scheme, including but not limited to
    the following:

                   a.   DUPONT   filed paperwork with the FEC to
    establish three PACs: Businessmen for a Businessman President PAC,
    Democrats for Congress PAC, and Foundation for Sanity in Politics
    PAC (collectively, the "Scam PACs").

                    b.    The Scam PACs, along with related website
    and email solicitations purporting to be associated with or
    supportive of certain candidates and political causes, targeted
    victims across the country, including in the Southern District
    of New York.  The Scam PACs and related websites raised funds on
    the basis of fraudulent representations that the donations would
    support political candidates, including candidates in certain
    races for president, the United States Senate, and state
    governorship.   These representations were made, in part, on
    websites, through online advertisements, and in email
    communications.    Certain of these representations were made
    using the identities of the relevant candidates.

                   c.   In truth and in fact, the Scam PACs had no
    active operations, employees, or program activities. They
    failed to make required filings with the FEC to reflect
    donations received under their auspices, and they failed to
    direct any of the donations to or in support of the candidates
    or causes for which funds were purportedly being raised.

                   d.   In perpetrating the scheme, DUPONT used both
    his real name and other variants of his name, including "John
    Gary Rinaldo," a name that he had previously legally used. 1

                Background on PACs and Re1evant Entities

                        Political Action Committees

         6.   Based on my training and experience as a Special
    Agent, my participation in this investigation and my review of


    1 Based on my review of records, I have learned that "John Gary
    Rinaldo" legally changed his name to "John Pierre Dupont" in or
    about 2012 in the State of California. As further described
    herein, variants of both of these names were used in connection
    with the fraudulent ~ChQffiQ.

                                      3
r        Case 5:19-mj-00579-STE Document 1 Filed 10/29/19 Page 4 of 16



    records, including publicly-available information, I have
    learned the following:

                   a.   A PAC is a type of political organization
    that can raise money to direct toward, for example and among
    other things, political parties, electoral campaigns, or issue-
    related expenditures.  Under federal campaign finance laws and
    regulations, such committees must register with the FEC and
    periodically report their financial activities.

                   b.   There are two types of PACs: ( 1) separate
    segregated funds, which generally are established by certain
    organizations and may solicit contributions only from
    individuals associated with those organizations, and
    (2) nonconnected PACs, which may solicit donations from the
    general public. Each of the Scam PACs was registered with the
    FEC as a nonconnected PAC.

                   c.   Nonconnected PACs can be established by
    filing a form with the FEC that principally identifies the PAC's
    name, physical address, email address, internet website, and
    associated banking institution.

                   d.   FEC rules require periodic public financial
    disclosures of the amounts of money received by PACs, including
    itemized disclosure for individuals who donate $200 or more in a
    given year.  FEC rules also require periodic public disclosures
    of PACs' expenditures, listed by amount and category of
    spending.

             Relevant Entities, Websites, and Email Accounts

               7.  At least three individual PACs, the Scam PACs,
    have been associated with the fraudulent scheme, including the
    following:

                   a.   Businessmen for a Businessman President PAC
    ("Businessman PAC"), established in September 2015 by JOHN
    PIERRE DUPONT, a/k/a "John Gary Rinaldo," a/k/a "John Gary," the
    defendant.  In its public FEC filings, Businessman PAC listed
    "John Pierre duPont" as both its treasurer and its custodian of
    records.
                   b.   Foundation for Sanity in Politics PAC
    ("Sanity in Politics PAC"), established by DUPONT in October
    2018.  In its public FEC filings, Sanity in Politics PAC listed
    "John duPont" as both its treasurer and its custodian of
    records.



                                      4
     Case 5:19-mj-00579-STE Document 1 Filed 10/29/19 Page 5 of 16



                c.  Democrats for Congress PAC ("Democrats
Congress PAC"), established by DUPONT in August 2018.   In its
public FEC filings, Democrats Congress PAC listed "John Pierre
Dupont" as its treasurer and "John Gary Rinaldo" as its
custodian of records.

          8.   At least approximately 15 individual websites
(collectively, the "Websites") have been associated with the
fraudulent scheme, including the following, each of which
identified itself in website text as being associated with
"Democrats For Congress" and/or the Democrats Congress PAC,
unless otherwise specified:

               a.   DemocratsForCongress.com (the "Democrats
Congress Website"), which purported to be raising money to
support Democratic candidates for the United States House of
Representatives;

               b.   DemocratsForSenate.org (the "Democrats
Senate Website"), which purported to be raising money to support
Democratic candidates for the United States Senate;

                 c.   Beto4Senate . org (the "Beto Website"),
BredesenForSenate.website, DonnellyForSenate.website,
ManchinForSenate.website, McCaskillForSenate.website,
HeitkampForSenate . website, StabenowForSenate . website,
Nelson4Senate . org, RosenForSenate.website, and
SinemaForSenate.website, each of which respectively purported to
be raising money to support particular candidates for the United
States Senate;

               d.   GillumForFloridaGovernor.org, which
purported to be raising money to support a particular candidate
for Governor of Florida (and together with the websites
identified in subsection 8(c) above, collectively the
"Candidate Websites");

               e.   Sanders2016Campaign . com (the "Sanders
Website"), which was created in 2015 and identified itself as
being associated with "The Sanders Organization," and which
purported to be raising money to support the 2016 candidacy of
Senator Bernie Sanders for president of the United States; and

               f.   ImmigrantChildrenReunited.org (the
"Immigrant Children Website"), which identified itself as being
associated with Sanity in Politics PAC, and which purported to
be raising money "to unite immigrant families" and provide
services in connection with certain United States immigration
policies.


                                  5
      Case 5:19-mj-00579-STE Document 1 Filed 10/29/19 Page 6 of 16




          9.    At least two email accounts have been used by
JOHN PIERRE DUPONT, a/k/a "John Gary Rinaldo , " a/k/a
"John Gary, " the defendant, in connection with the fraudulent
scheme, including the following:

                a.  DUPONT has utilized an email account for
which the username is JohnGary, the combined first and middle
name of DUPONT's former name , John Gary Ri naldo (the "Rinaldo
Email Account") .

               b.   DUPONT has also utilized an email account
for which the username is "DemocratsForCongress2018" and which
is subscribed to in the name "John duPont" (the "Congress Email
Account").

      Fa1se and Mis1eading Representations by the Scam PACs,
      Re1ated Websites and So1icitations , and the Defendant

            10. Based on my participation in this investigation,
and my review of records, including thousands of emails from
several accounts used by JOHN PIERRE DUPONT, a/k/a "John Gary
Rinaldo , " a/k/a "John Gary, " the defendant, or otherwise
associated with the scheme as further described below, obtained
pursuant to judicially- authorized search warrants on several
email accounts (the "Email Search Warrant Returns"); financial,
payment, and banking records ; publicly-available information
including FEC records; and interviews of individuals who donated
to certain of the Scam PACs and through certain of the Websites
conducted by myself and other law enforcement officers, I have
learned the following:

         False and Misleading Representations in Websites

               a.   As described above , numerous of the Websites
purported to be associated with "Democrats For Congress" and/or
the Democrats Congress PAC.  The Immigrant Children Website
purported to be associated with Sanity in Politics PAC.

                b.   Based on my review of records obtained from
an online website hosting entity, I have learned that each of
the Websites , except the Sanders Website , was registered under
the same customer account (the "Hosting Account") . 2 The Hosting

2 The Hosting Account has also registered the following websites,
which do not yet appear to have received and processed
donations : bidenforpresident . website; takebackthesenate . website;
biden2020 . website; joeforpresident.website;
joebiden2020 . website; gillibrandforpresident.website; and


                                   6
     Case 5:19-mj-00579-STE Document 1 Filed 10/29/19 Page 7 of 16




Account customer information had the contact name "John
DuPont/Rinaldo." Based on my review of records from a separate
online website hosting entity, I have learned that payment
records for registration of the Sanders Website listed "John
duPont" in shipping and billing contact information.

               c.   The Democrats Congress Website claimed to
raise money in support of certain federal congressional
campaigns and contained a form in which individuals could, based
on representations made on the Democrats Congress Website,
supposedly donate money to, or in support of, certain
congressional candidates. As further described below, those
representations were false, and available bank and financial
records do not reflect any of the donated money being provided
to, or used to support, congressional candidates.

               d.   The Democrats Congress Website contained
certain indicia indicating that the website is fraudulent; for
example, a portion of the Democrats Congress Website contained
purported copyright information that misspelled the word
"democrat." Additionally, a section of the Democrats Congress
Website touted that it represented a coalition of organizations,
none of which appears to exist as described, based on my review
of publicly-available information.

               e.   The Democrats Senate Website claimed to
raise money for certain federal Senate campaigns and contained a
form in which individuals could, based on representations made
on the Democrats Senate Website, supposedly donate money to, or
in support of, Democratic candidates for the U.S. Senate. As
further described below, those representations were false, and
available bank and financial records do not reflect any of the
donated money being provided to, or used to support, Senate
candidates.  The Democrats Senate Website also contained links
to various other of the Websites.

               f.    The Immigrant Children Website, which
identified itself in website text as being associated with
Sanity in Politics PAC, purported to be raising money in
connection with certain United States immigration policies
relating to the separation of undocumented immigrant family
members in the course of immigration proceedings.

               g.   In particular, the Immigrant Children
Website claimed that: "Our volunteer attorneys, doctors, nurses

bredesenforpresident.com. Additionally, several of the Websites
described herein remain actively soliciting donations as of in
or about March 2019.

                                  7
     Case 5:19-mj-00579-STE Document 1 Filed 10/29/19 Page 8 of 16




and social workers are working day and night to liberate these
children." It further claimed that: "Donations will go to help
pay our volunteer attorneys', doctors', nurses' and social
workers' costs and pay for transportation to unite immigrant
families." In truth and in fact, and as further described
below, Sanity in Politics PAC has no such volunteers, or any
other employees or operations, and neither Sanity in Politics
PAC nor DUPONT made any expenditures toward any such volunteer,
transportation, or other related efforts.

               h.   Each of the Candidate Websites purported to
support its respective candidate for office by, among other
things, including the text "Support [Candidate] TODAY" above a
link with the text "DONATE" that led to an online donation page.
Each of the Candidate Websites stated that it was paid for by
the Democrats Congress PAC, and each stated that: "Your
donations are collected by DFC [Democrats for Congress PAC] and
combined with other donations and allocated by DFC to support
[candidate's] campaign within 72 hours." In truth and in fact,
and as further described below, the donations made through the
Candidate Websites were not transferred to campaigns or used to
support candidates or their campaigns apart from being used to
create further fraudulent solicitations.

               i.   Approximately six of the Candidate Websites
ascribed part or all of the same lengthy quote to the relevant
respective candidates.  Based on a review of publicly-available
information, I do not believe that any of the relevant
candidates have been associated with the portions of the quote
attributed to them on the Candidate Websites.

               j.   DUPONT registered the Sanders Website in or
about October 2015.  The Sanders Website stated, among other
things, that: "We are a non profit corporation (The Sanders
Organization)" that was "organized to support the candidacy of
Bernie Sanders for President" and that "[y]our money will
support Progressive Democrat Presidential Candidate Bernie
Sanders." In truth and in fact, as further described below,
none of the money sent to DUPONT through The Sanders
Organization went to support the candidacy of Senator Bernie
Sanders.

               k.   Each of the candidates for whom one of the
Candidate Websites was created was a candidate for office as
claimed in the Candidate Websites.  The true names of the
relevant candidates were used in solicitation materials,
including but not limited to the Candidate Websites, in relation
to and in furtherance of the scheme described herein.



                                  8
      Case 5:19-mj-00579-STE Document 1 Filed 10/29/19 Page 9 of 16




    Victim Donations and Communications with DUPONT by Email

          11 . I have identified approximately more than 1 , 000
donations to the Scam PACs and campaigns , including through the
Websites discussed herein, and including from donors in the
Southern District of New York.  In addition, as detailed below,
I have learned that JOHN PIERRE DUPONT, a/k/a "John Gary
Rinaldo," a/k/a "John Gary," the defendant, falsely represented
himself in emails to donors and prospective donors as being
associated with the campaigns of certain of the electoral
candidates in whose names he established the false and
fraudulent Candidate Websites.

          12 . For example, based on my review of financial
records, payment processing records, records of donation and
donation confirmation materials, and my interviews of two
individuals who donated through certain of the Websites
("Victim-1" and "Victim- 2"), I have learned the following:

                a.   Records obtained in connection with a
certain payment processing account associated with JOHN PIERRE
DUPONT, a/k/a "John Gary Rinaldo," a/k/a "John Gary," show that
Victim- 1 contributed $100 through the Beto Website in or about
October 2018.

                  b.   In or about December 2018, I interviewed
Victim- 1 , who stated, in substance and in part, that Victim- 1
intended to donate $100 to the Senate campaign of Beto O'Rourke
through the Beto Website.      Victim-1 paid the $100 with a credit
card . Vict i m- 1 resides i n the Southern District of New York.

                c.   Victim- 1 provided law enforcement officers a
copy of a receipt ("Receipt - 1") that Victim- 1 received via email
in or about October 2018 after making the $100 donation.
Receipt-1 stated, in substance and in part, "[t]hank you for
your donation" and was signed, "Sincerely, Robert Francis 'Beto'
O'Rourke(D) U.S . Senator For Texas . " Receipt-1 was emailed to
Victim- 1 from the Rinaldo Email Account.

                d.   Records obtained in connection with a
certain payment processing account associated with DUPONT show
that Victim- 2 contributed $200 through the Beto Website in or
about October 2018 .




                                   9
     Case 5:19-mj-00579-STE Document 1 Filed 10/29/19 Page 10 of 16




                e.    In or about December 2018, I interviewed
Victim-2.3   After reviewing personal records, Victim-2 stated
that Victim-2 donated $200 to what Victim-2 believed to be the
Senate campaign of Beto O'Rourke through the Beto Website.
Victim- 2 paid the $200 with a credit card.   Victim- 2 resides in
the Southern District of New York.

                f.   Victim- 2 provided law enforcement officers a
copy of a receipt ("Receipt - 2") that Victim-2 received via email
in or about October 2018 after making the $200 donation.
Receipt-2 stated, in substance and in part, "[t]hank you for
your donation" and was signed, "Sincerely, Robert Francis 'Beto'
O'Rourke(D) U. S. Senator For Texas." Receipt-2 was emailed to
Victim- 2 from the Rinaldo Email Account .

          13 . Based on my review of the Email Search Warrant
Returns and certain financial and website registration records,
I have learned the following :

               a.   On or about August 16, 2018, the Rinaldo
Email Account received an email from the Congress Email
Account").  The subject of the email was "test." The content of
the August 16, 2018 email referred to certain electoral
candidates and districts, and included a link to the Democrats
Congress Website .

               b.   That same day, after the "test" email, the
Congress Email Account sent approximately 20 emails to
approximately more than 180 total email addresses (collectively,
the "August 16 Emails"). The August 16 Emails described certain
congressional races and directed recipients of the email to the
Democrats Congress Website, which contained further solicitation
materials.

               c.   In addition to solicitation emails, the
Congress Email Account, like the Rinaldo Email Account, was used
to communicate directly with donors.  For example:

                     i.  One email to a donor, signed by "John
Dupont, Director" falsely claimed that a donation "went directly
to the Heirkamp [sic] campaign," which, based on my
participation in this investigation and my review of publicly-
available information, I believe refers to the 2018 U.S. Senate
campaign of Heidi Heitkamp. That email also falsely claimed
that "we have utilized the donations to support our ground


3Victim-2 did not immediately recall making a donation to Beto
O'Rourke during my initial interview, but recalled the donation
after reviewing records .

                                  10
     Case 5:19-mj-00579-STE Document 1 Filed 10/29/19 Page 11 of 16



activities" and that "[w]e have deployed an attorney and three
volunteers" in connection with the campaign . In fact, DUPONT
disbursed no funds to the Heitkamp campaign, and there were no
such ground activities, attorneys, or volunteers being paid for
by the Democrats Congress PAC, by DUPONT himself , or by any
other organization associated with, or receiving funds from,
DUPONT .

                     ii.  Another email to a donor, signed by
"John Dupont," falsely claimed that a particular donation had
gone to the "Beto Campaign , " which , based on my participation in
this investigation and my review of publicly-available
information , I believe refers to the 2018 U.S. Senate campaign
of Beto O'Rourke.   The email stated that Democrats for Congress
"is bundling your donation and within 72 hours allocates the
funds donated to the Beto O'Rourke campaign" and that "we have
disbursed your funds to the Beto advertising campaign." In
fact, DUPONT disbursed no funds to the O'Rourke Campaign, or to
any advertisements other than solicitations utilized to further
perpetuate the fraud .

                 d.  On or about October 25, 2018, the Rinaldo
Email Account sent an email to an individual who self-identified
as an " online marketing consultant" with the subject "Re: 1st
Page of GOOGLE . " The email stated : "Is there a way to get me to
the top of the search right now? I don't care if google or
microsoft BING bars me.    We are running a political campaign
which will be over in 12 days . So I only need to be there for 7
days.   We will pay very , very well!"

      The Scam PACs Used Donations Exclusivel y to Enrich t h e
         Defendant and to Continue the Fraudulent Sch eme

            14. Based on my review of records, including the
Email Search Warrant Returns, FEC records , bank account data for
several accounts affiliated with the Scam PACs and JOHN PIERRE
DUPONT, a/k/a "John Gary Rinaldo," a/k/a "John Gary," the
defendant, and other records described below, I have learned the
following :

               a.    The Scam PACs appear to have little or no
operations whatsoever beyond their associated websites, online
and email solicitations , and donation processing.  Other law
enforcement officers and I have reviewed thousands of emails
contained in the Email Search Warrant Returns; bank account data
for several accounts affiliated with the Scam PACs and the
defendant; and a variety of other records pertinent to the
Scam PACs.  Those materials revealed no advocacy campaigns; no
political operations; no employees of the Scam PACs; no


                                  11
     Case 5:19-mj-00579-STE Document 1 Filed 10/29/19 Page 12 of 16




volunteers associated with the Scam PACs or the causes espoused
in the Websites; no outreach to political organizations, media,
or other advocacy organizations; and no political contributions
made to candidates or issue-based organizations.

               b.   The Scam PACs and their associated Websites
received donations via credit card payments processed through
multiple payment-processing entities.

               c.   In particular, one payment processing entity
("Processor-1") processed donations made through certain of the
Websites.

                      i.  In email communications with
Processor-1, using the Congress Email Account, an individual
purporting to be "John Dupont, Custodian of Records and
Treasurer" falsely represented to Processor-1 that Democrats
Congress PAC was raising money to, among other things, "put
volunteers [.    .] in registering Democrats in [certain]
districts and provide advertising such as bill boards, yard
signs and bumper stickers.       . We are knocking on doors and
registering thousands of Hispanic voters." As described above,
Democrats Congress PAC had no such operations.

                    ii.  Processor-1 processed approximately
more than $3,000 of donations intended for Democrats
Congress PAC, through various of the Websites, from
approximately more than 30 donors in or about September 2018.

                   iii.  In or about September 2018, Processor-1
issued two checks payable to "Democrats for Congress," both of
which were endorsed by "John Rinaldo" and deposited into a
checking account held in the name of John Gary Rinaldo (the
"Rinaldo Bank Account")

                    iv.  In or about September 2018, Processor-1
closed the payment account associated with DUPONT due to what
Processor-1 believed was misleading content in certain of the
Websites.

               d.   Another payment processing entity
("Processor-2") processed donations made through certain of the
Websites.

                    i.   Democrats Congress Website's account
with Processor-2 was registered with the business name of Sanity
in Politics PAC, and was described as being to "[p]romote
various political and social campaigns" and to "[p]rovide



                                  12
     Case 5:19-mj-00579-STE Document 1 Filed 10/29/19 Page 13 of 16




volunteer and other opportunities and requests for help and
donations from registered Democrats."

                   ii.   DUPONT communicated via email with
Processor-2 regarding payment processing matters. Among other
things, DUPONT stated to Processor-2, in connection with issues
regarding the payment processing, that "[m]y donors are
complaining that there [sic] donations are not going through."

                  iii.   In or about 2018, Processor-2 processed
approximately more than $100,000 from approximately more than
1,000 individual donations made through various of the Websites.
The donations generally were small-dollar donations of $100 or
less.

                   iv.   In or about 2018, Processor-2
transferred approximately more than $95,000 to the Rinaldo Bank
Account.

               e.   As described above, one of the fraudulent
Websites was the Sanders Website, which identified itself as
being associated with "The Sanders Organization," and which
purported to be raising money to support Bernie Sanders' 2016
candidacy for president. Based on my review of records,
including the Email Search Warrant Returns and certain bank
records, I have learned the following:

                  i.      In or about January 2016, DUPONT
established an email account with the username
"TheSandersOrganization" and also established a bank account
with the title "The Sanders Organization" (the "Sanders
Organization Bank Account") listing "John Gary Rinaldo" as
"President/Secretary."

                 ii.      The Sanders Website stated that: "EVERY
TIME WE PROCESS YOUR CREDIT CARD DONATION, THE BIG BANKS TAKE UP
TO 40% OF THE DONATIONS JUST FOR PROCESSING YOUR CREDIT CARD
DONATION.     . THAT IS WHY WE ARE GIVING YOU THE OPTION .
TO MAKE YOUR DONATIONS IN CASH OR CHECK BY SENDING YOUR
DONATION" to a particular address.  The Sanders Website also
received donations made online, via credit card.

                iii.      In or about 2015 and 2016, DUPONT
received donations totaling more than $140,000 from donations to
the Sanders Organization, including donations made
electronically and via check.   DUPONT deposited approximately
more than 800 checks into the Sanders Organization Bank Account.
Certain of the checks deposited were made payable to, among



                                  13
     Case 5:19-mj-00579-STE Document 1 Filed 10/29/19 Page 14 of 16



other payees, "The Sanders Campaign," "Bernie Sanders Pres.
Campaign," and "Bernie Sanders for President."

          15.  Based on my review of account statements and my
training and experience, the Rinaldo Bank Account and the
Sanders Organization Bank Account appear to be utilized as
personal banking accounts, i.e., not accounts associated with
any political candidate or political committee.   In particular:

               a.    Expenditures from the Sanders Organization
Bank Account appear to be primarily for personal purchases or
for expenditures in connection with facilitating the fraud.   For
example, in February 2016, JOHN PIERRE DUPONT, a/k/a "John Gary
Rinaldo," a/k/a "John Gary," the defendant, using the name John
Rinaldo, wrote two checks from the Sanders Organization Bank
Account totaling approximately $25,300 to an auto dealership for
a Mercedes-Benz sedan.   Several checks written from the Sanders
Organization Bank .Account have memo lines that include the word
"Rent," and other memo entries include "IT" or "website."
DUPONT also used the Sanders Organization Bank Account to
purchase internet advertisements, and made significant cash
withdrawals.

               b.   Expenditures from the Rinaldo Bank Account
appear to be primarily for personal purchases or for
expenditures in connection with facilitating the fraud.  For
example, approximately more than 30 checks written from the
Rinaldo Bank Account include the word "Rent" in the memo entry,
and other checks are written in connection with, for example, a
Mercedez-Benz dealership, the payment of traffic and parking
tickets, and car insurance payments.  DUPONT also used the
Rinaldo Bank Account to purchase internet advertisements and t o
make credit card payments, and made significant cash
withdrawals.

               c.   Bank account and payment processor account
records for the Scam PACs and other related entities, including
for the Rinaldo Bank Account and the Sanders Organization Bank
Account, reveal no payments to campaigns or to organizations for
political, marketing, or other purposes that would traditionally
be associated with PACs or political causes or efforts.

          16.  Based on my review of financial records
associated with JOHN PIERRE DUPONT, a/k/a "John Gary Rinaldo,"
a/k/a "John Gary," the defendant, I have learned that DUPONT
received approximately more than $250,000 of funds donated to
the various candidates and causes purportedly supported by the
Scam PACs and the Websites.



                                  14
     Case 5:19-mj-00579-STE Document 1 Filed 10/29/19 Page 15 of 16



          17.  Based on my review of publicly-available FEC
records, I have learned that none of the Scam PACs filed public
FEC reports reflecting donations received through the Websites
associated with the Scam PACs, as required under relevant
election and campaign laws and regulations.

          WHEREFORE, the deponent respectfully requests that a
warrant be issued for the arrest of JOHN PIERRE DUPONT, a/k/a
"John Gary Rinaldo," a/k/a "John Gary," the defendant, and that
he may be arrested and imprisoned or bailed, as the case may be.




                                       Special Agent
                                       United States Attorney's Office
                                       Southern District of New York

                               -.. -
                               ~   '    ..
                                             ''




                                        15
Case 5:19-mj-00579-STE Document 1 Filed 10/29/19 Page 16 of 16
